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  Attorneys for Plaintiff C. R. Bard, Inc.


                             IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF UTAH, CENTRAL DIVISION

                                             )
                                             )
  C. R. BARD, INC., a New Jersey             )
  corporation,                               )    PLAINTIFF’S SUPPLEMENTAL
                                             )       RULE 7.1 STATEMENT
            Plaintiff,                       )
                                             )       Case No. 2:12-cv-00035-RJS
  v.                                         )
                                             )         Judge Robert J. Shelby
  ANGIODYNAMICS INC., a Delaware             )
  corporation,                               )
                                             )
  Defendant.                                 )




  07680-00003/9761892.1
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            Pursuant to Fed. R. Civ. P. 7.1, Plaintiff C.R. Bard, Inc. states that it is a wholly owned

  subsidiary of Becton, Dickinson and Company, a publicly traded company (NYSE: BDX), and

  that T. Rowe Price Associates, Inc., a publicly traded company (NYSE: TROW), owns 10% or

  more of Becton, Dickinson and Company’s stock.



  Dated: January 8, 2018                               Respectfully submitted,

                                                       /s/ Bryon J. Benevento
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